JS 44 (Rev. 10/20)                                 CIVIL
                               Case 2:21-cv-02813-CFK    COVER1-3
                                                       Document SHEET
                                                                   Filed 06/24/21                                                                  Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                        Police Officers Ponente, Rozman, Turner, Tilghman and
         Ryan Quarles
                                                                                                        Sgt. McCabe
   (b) County of Residence of First Listed Plaintiff            Gwinnett County, GA                     County of Residence of First Listed Defendant Philadelphia, PA
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

         Aaron Bell, 7303 Frankford Ave., PO Box 22024,                                                 Shannon Zabel, City of Philadelphia Law Dept., 1515 Arch
         Philadelphia, PA 19136 215-609-4888                                                            St., 14th Floor, Philadelphia, PA 19102 215-683-5114
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government             ✖ 4    Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
         Defendant                          (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                    PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                       310 Airplane                     365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument             Liability                   367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &                 Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment         Slander                         Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’               Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted             Liability                   368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans               340 Marine                           Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)         345 Marine Product                   Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment           Liability                  PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits        350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits          355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                   Product Liability            380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability ✖ 360 Other Personal                   Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                        Injury                       385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                   362 Personal Injury -                Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                       Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                  441 Voting                       463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment       442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                443 Housing/                         Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability           Accommodations               530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property      445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                       Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                   446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                       Other                        550 Civil Rights                  Actions                                                                State Statutes
                                   448 Education                    555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖ 2   Removed from                3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding                 State Court                       Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                           (specify)                 Transfer                          Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. 1332, 1441
VI. CAUSE OF ACTION Brief description of cause:
                                      State law torts false arrest, malicious prosecution, conspiracy
VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                               10,000,000.00                               JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE                                                                DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
06/24/2021
FOR OFFICE USE ONLY

  RECEIPT #                    AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
